                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


Sheri L. Baker                                     )
                                                   )
                                                   )
                     Plaintiff                     )
                                                   )
v.                                                 )      NO. 3:12-1222
                                                   )      JUDGE Trauger
                                                   )
                                                   )
                                                   )
JP Morgan Chase Bank N.A.                          )
                                                   )
                                                   )
                                                   )
                                                   )
                    Defendant                      )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 6/9/14.


                                                   KEITH THROCKMORTON, CLERK
                                                   s/Althea F. Straughter, Deputy Clerk




     Case 3:12-cv-01222 Document 109 Filed 06/09/14 Page 1 of 1 PageID #: 1266
